                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
In re:

LINEAR MOLD & ENGINEERING,                               Case No.: 21-42617-mar
LLC,                                                     Chapter 11

         Debtor.                                         Hon. Mark A. Randon


  STIPULATION FOR ENTRY OF AN ORDER ALLOWING PROOF OF
   CLAIM OF INDUSTRIAL DEVELOPMENT AND HOLDINGS, LLC
                      (CLAIM NO. 15)

         Linear Mold & Engineering, LLC (the “Debtor”) and Industrial Development

and Holdings, LLC (“Creditor,” and together with Debtor, the “Parties”) hereby

stipulate as follows.

         WHEREAS, the Creditor filed an unsecured Proof of Claim identified as

Claim No. 15 (“the Claim”), addressing certain pre-Petition lease obligations (the

“Obligations”) provided by the Creditor to the Debtor; and

         WHEREAS, the Debtor scheduled Creditor as an unsecured creditor in its

Schedules in a dollar amount lower than that asserted in the Claim; and

         WHEREAS, as of the Petition Date, there was a complaint filed in Wayne

County Circuit Court between the Debtor and Creditor involving the obligations

contained in the Claim, which included claims of Breach of Contract, Unjust

Enrichment, Quantum Meruit and Account Stated.



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      WHEREAS, the Debtor intended to object to the Claim in order to address

the aforementioned outstanding issues between the Parties and engaged in settlement

negotiations proactively with Creditor to resolve any dispute between the Parties

involving the Claim; and

      NOW, THEREFORE, in resolution of any dispute regarding the Claim, and

in light of the time, expense and uncertainty involved in litigating a potential

objection to the Claim, the Parties agree to the entry of the Order attached hereto as

Exhibit A.



      /s/ Lynn M. Brimer                       /s/ Sidney P. Katz
Lynn M. Brimer (P43291)                 Sidney P. Katz (P51471)
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Engineering, LLC                        Counsel for
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Dated: October 4, 2021




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                                     EXHIBIT A
                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
In re:

LINEAR MOLD & ENGINEERING,                             Case No.: 21-42617-mar
LLC,                                                   Chapter 11

         Debtor.                                       Hon. Mark A. Randon


              [PROPOSED] ORDER ALLOWING PROOF OF CLAIM OF
                INDUSTRIAL DEVELOPMENT AND HOLDINGS, LLC

         This matter having come before the Court upon the stipulation of the Parties;

the Court having reviewed the stipulation and finding good cause to grant the relief

agreed upon therein;

         NOW, THEREFORE, IT IS ORDERED:

         1.     The Proof of Claim of Industrial Development and Holdings, LLC

(Claim No. 15) is hereby ALLOWED as a Class IX general unsecured claim in the

amount of $200,000.00 under the Debtor’s Plan of Reorganization [Docket No. 100],

which was confirmed by Order of this Court on August 2, 2021 [Docket No. 128];

         2.     The parties shall dismiss the litigation in Wayne County Circuit Court

with prejudice and without costs to either party;

         3.     This Court shall retain jurisdiction regarding any disputes regarding the

subject matter contained herein.



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